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       EXHIBIT A
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                                                                               NYSCEF:


       SUPREME COURT OF THE STATE OF NEW YORK                          Index No.
       COUNTY OF NASSAU                                                            SUMMONS
       NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. &                     Plaintiff’s Address:
       EAST COAST PLASTIC SURGERY, P.C.                                NORMAN MAURICE ROWE, M.D.,
                               Plaintiff(s),                           M.H.A., L.L.C. & EAST COAST
                                                                       PLASTIC SURGERY, P.C.
                   - Against -                                         71 East 77th Street
                                                                       New York, NY 10075
       UNITED HEALTHCARE SERVICES, INC,                                Basis for Venue:
                              Defendant(s).                            Defendant transacts business within
                                                                       NASSAU County


          To the above named defendant:
          YOU ARE HEREBY SUMMONED to answer the complaint in this action and to
          serve a copy of your answer, or, if the complaint is not served with this summons, to
          serve a notice of appearance, on the Plaintiff's attorney within 20 days after the
          service of this summons, exclusive of the day of service (or within 30 days after the
          service is complete if this summons is not personally delivered to you within the
          State of New York); and in case of your failure to appear or answer, judgment will
          be taken against you in the amount of $299,428.50.
          Dated:         August 17, 2022

          Defendant’s Address:                                      LEWIN & BAGLIO, LLP
          UNITED HEALTHCARE SERVICES, INC                         By: Michael Baglio, Esq.
          c/o CT Corporation System                               Attorneys for the Plaintiff
          28 Liberty Street                                       1100 Shames Drive
          New York, NY 10005                                      Suite 100
                                                                  Westbury, New York 11590
                                                                  Tel: (516) 307- 1777
                                                                  Fax: (516) 307- 1770
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          SUPREME COURT OF THE STATE OF NEW YORK                                                Index No.:
          COUNTY OF NASSAU
                                                                                                   COMPLAINT
          NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. & EAST
          COAST PLASTIC SURGERY, P.C.
                                   Plaintiff(s),

                      - Against -

          UNITED HEALTHCARE SERVICES, INC,
                                 Defendant(s).

          Plaintiffs, NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. & EAST COAST
          PLASTIC SURGERY, P.C., alleges:

              1) This is an amount to payment case. This is an action by an out-of-network

          health care provider to recover payment from an insurer. The insurer offered to

          reimburse Plaintiff’s out-of-network services as in-network services then after the

          services were rendered the insurer reneged by reimbursing less than what it had

          offered and less than a reasonable amount. This action does not include any claims

          in which benefits were denied, nor does it challenge any coverage determinations.

              2) Indeed, the Defendant-insurer has already adjudicated these claims, has

          determined that Plaintiff’s claims were for covered medical services rendered to the

          relevant patient, and has issued payments-payments that were not what was

          offered to induce performance of the services at issue. And, that is the reason for

          this lawsuit.

              3) OR1, a consumer of the Defendant’s product, required a medical procedure

          called bilateral breast reduction and placement of a vacuum dressing. The insurer

          did not have sufficient capacity in its network to render bilateral breast reduction.



          1 OR is an individual patient referred to solely by their initials to avoid disclosure of personally



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             4) In order to induce Plaintiff(s), an out-of-network healthcare provider, to

          render bilateral breast reduction, the insurer offered to reimburse the service at the

          network level rate. But after receiving the benefit of its bargain-bilateral breast

          reduction with placement of a vacuum dressing rendered to its consumer-the

          insurer reneged by making payment that was not at the promised rate. The

          payment was not what was offered, was late pursuant to NY statutory standards,

          and incomplete or unreasonable according to industry standards.


                        JURISDICTION, VENUE, AND PARTIES
             5) This Court has personal jurisdiction over the parties because Defendant

          UNITEDHEALTHCARE SERVICE, LLC, (herein after “ UHC”)is an insurance

          company licensed and authorized to do business in the State of New York; UHC,

          violated New York Law while doing business in New York State.

             6) UHC transacts business in NASSAU County.

             7) NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. (Herein after Rowe LLC)

          is a Limited Liability Company that transacts business in the State of New York.

             8) EAST COAST PLASTIC SURGERY, P.C. (Herein after ECPS) is a

          Professional Corporation located in the State of New Jersey. (Herein after Rowe

          LLC and ECPS are referred to collectively as Rowe LLC).

                                      FACTUAL ALLEGATIONS
          A. Introduction to Managed Care

             9) UHC sells, among other things, health insurance products.




          identifiable information.

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             10) Many of Rowe LLC’s patients are consumers of a health insurance products

          and use those products to arrange for and manage the costs of their medical

          treatment

             11) At all relevant times, “OR” was a consumer of a health insurance product

          sold by UHC.

             12) OR relied on an insurance product sold by UHC to arrange for and manage

          the costs of their medical treatment.


             1. Use of Network Status to Determine Reimbursement

             13) The amount UHC pays to medical providers is the result of a negotiation that

          takes place between medical providers and UHC long before any services are

          rendered, a negotiation that fixes a provider’s network status.

             14) UHC determines a medical provider’s network status by whether or not the

          provider has signed a/an UHC network agreement. A provider who has signed the

          agreement has joined UHC’s provider network. A provider who has joined the

          network has negotiated and agreed to accept a rate of payment for the services they

          will provide to consumers of UHC’s products and plans, which is called the in-

          network rate.

             15) The pre-negotiated rates UHC pays for in-network services are not found

          within the terms of any insurance product or plan certificate, they are found in the

          network agreement.

             16) UHC negotiates the terms of the network agreement with medical providers

          but sells specific insurance plans to consumers.


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             17) The in-network rates UHC pays is not found within any discrete insurance

          product or plan UHC sells and/or administrators.

             18) Rowe LLC intentionally refused to join any provider network organized by

          UHC so that Rowe LLC is always free to negotiate payment for services they render

          to individual patients.

             19) At all times relevant, Rowe LLC refused to join any insurer provider network

          organized by UHC so that Rowe LLC could freely choose to whom they would render

          medical services.

             20) Rowe LLC intentionally refused to join any insurer provider network

          organized by UHC so that Rowe LLC could never be bound by the terms and

          conditions of UHC’s or any health insurance plan or product sold by UHC.

             21) Rowe LLC never agreed to be bound by the terms and conditions of OR’s

          health insurance plan.

             22) Since Rowe LLC has refused to join a provider network UHC treats Rowe

          LLC as an out-of-network provider.

             23) Not all UHC insurance products allow for out-of-network benefits. If the

          product allows out-of-network benefits, UHC determines the maximum amount it

          will pay for a covered service to an out-of-network provider, this rate is sometimes

          called OON or out-of-network rate.

             24) In the healthcare industry the usual, customary, and reasonable rate (UCR)

          is the amount charged for services in a geographic area based on what providers in

          the area usually charge for the same or similar medical services. The 80th



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          percentile of UCR is a percentile threshold recognized in the health insurance

          industry as a reasonable value for a medical service. Typically, an insurer will

          disclose the total allowed amount as a percentage of UCR.

             25) Indeed, New York Insurance Law §§ 3217-a(a)(19)(B) and 4324(a)(20)(B) and

          Public Health Law § 4408(1)(t)(ii) require health plans to disclose the amounts paid

          for out-of-network services as a percentage of UCR.


             2. Network Exceptions

             26) A network exception is a request by an out-of-network medical provider to

          have an insurer reimburse a specific medical service at a rate that is not otherwise

          available to the relevant patient if that service is rendered within a specific time

          period.

             27) UHC offers network exceptions to induce highly skilled physicians, like Rowe

          LLC, to render unique medical services to consumers of UHC insurance products by

          intentionally offering to reimburse the service at the network level despite Rowe

          LLC not signing a network agreement.

             28) The services Rowe LLC renders are unique because Rowe LLC’s physicians

          are specially trained in the latest techniques and methods of performing bilateral

          breast reduction that result in reduced trauma and higher quality patient care.

             29) A network exception granted by UHC is only valid for a limited period of

          time.




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             30) Network exceptions are different from “pre-authorizations.” On the one hand

          a pre-authorization establishes only that there is coverage for the service. On the

          other hand, a network exception establishes a rate of reimbursement.

             31) UHC will issue a network exception only when it does not have a medical

          provider with the capacity to render the services the consumer needs within in its

          network or within the consumer’s geographical vicinity.

             32) UHC has a business procedure for issuing network exceptions.

             33) Bilateral breast reduction and placement of a vacuum dressing was indicated

          for OR and OR desired Rowe LLC perform bilateral breast reduction.

             34) Rowe LLC, however, was unwilling to risk non-payment to perform bilateral

          breast reduction on OR.

             35) Rowe LLC refused to accept the out-of-network reimbursement OR’s

          insurance product offered.

             36) Therefore, on or about December 3, 2019, a Rowe LLC employee contacted

          UHC and spoke to an individual in UHC's surgical pre-approval department or unit.

          Rowe LLC identified itself as an out-of-network provider, indicated to UHC that

          bilateral breast reduction was indicated for OR, that Rowe LLC was willing to

          negotiate payment for their services.

             37) On December 7, 2019 as per the request of UHC, Rowe LLC submitted to

          UHC clinical information and certain medical records concerning the surgery

          proposed for OR.




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             38) Those records informed UHC that bilateral breast reduction was indicated for

          OR and that Dr. Norman Rowe and Dr. Charles Pierce would be performing

          bilateral breast reduction and placement of a vacuum dressing. The submission of

          those records indicated that neither provider was willing to render the services

          unless they were reimbursed at a higher rate.

             39) On or about December 17, 2019, UHC orally offered Rowe LLC

          reimbursement for a bilateral breast reductionnegative pressure wound therapy

          rendered to OR at the network level because there was no medical provider in OR’s

          area to provide the surgery.

             40) Upon information and belief, UHC notified the patient that it had received

          Rowe LLC’s request for a network exception and based on information provided by

          Rowe LLC it had granted Rowe LLC’s request.

             41) On December 30, 2020, Rowe LLC accepted UHC offer by rendering bilateral

          breast reductionnegative pressure wound therapy to OR.

             42) Rowe LLC submitted its billing to UHC.

          B. Explanation of billing

             43) Rowe LLC billed UHC a total of $300,000.00 for the services rendered to OR

          on December 30, 2020, indicating the services it rendered using industry standard

          billing codes, known as “CPT codes.” Rowe LLC also substantiated the use of those

          CPT codes by including the surgical/operative report with its billing.

             44) It is an industry standard practice for UHC to rely upon the billing codes

          submitted by a medical provider to determine the amount UHC would pay.

             45) Indeed, Rowe LLC attested to the accuracy of the claims.

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             46) Rowe LLC billed UHC $150,000.00 for the services Dr. Norman Rowe

          rendered. UHC adjudicated these claims and determined that the claims were for

          covered services rendered to OR because UHC paid $2,227.64 for the services Dr.

          Norman Rowe rendered.

             47) Rowe LLC billed UHC $150,000.00 for the services Dr. Charles Pierce

          rendered. UHC paid $ 571.50 for the services Dr. Charles Pierce rendered.


          C. UHC’s fraudulent inducement scheme

             48) UHC has a concrete business purpose in having highly skilled physicians

          render unique and medically necessary medical services that are NOT otherwise

          available to consumers of its health insurance products.

             49) UHC holds itself as having the capacity to arrange for and manage the costs

          of all necessary medical treatment for consumers of its products by maintaining a

          network of doctors that it claims will result in significant out-of-pocket savings to

          its consumers. Unbeknownst to its consumers, UHC doesn’t have highly skilled

          doctors like Rowe LLC in its network.

             50) UHC uses network exceptions to fraudulently induce highly skilled medical

          providers who have refused to join their provider network, to render services to

          consumers of UHC’s products. The network exception benefits UHC by satisfying

          its contractual obligation to consumers of its health insurance products to arrange

          for necessary medical procedures and limit the insured liability by making the

          medical providers receiving the network exception agree not to balance bill the

          patient as a condition of the network exception.


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             51) Without issuing the network exceptions UHC’s consumers could not receive

          the medical treatment they require without incurring significant out-of-pocket

          costs. And if UHC cannot arrange for necessary medical treatments then its

          products don’t serve their function and its brand value decreases.

             52) By creating a process for out-of-network providers to make a request for a

          network exception UHC fostered a sense of security, albeit false, in the requesting

          provider that UHC was “on notice” that the out-of-network provider had rejected

          the offer of out-of-network reimbursement and would receive a higher payment

          amount.

             53) When it granted the network exception UHC never intended to pay anything

          more than a fraction of the reasonable value of the services rendered.

             54) UHC representation of reimbursement at the in-network rate was intended

          to deceive because UHC has no in-network rate for services provided by out-of-

          network providers.

             55) UHC wanted Rowe LLC to believe the in-network rate to be an amount

          negotiated by fellow medical providers in the same field in the same geographical

          area; a rate that far exceeded the out-of-network reimbursement.

             56) UHC has, as is common in the health insurance industry, largely automated

          its claims adjudication process. UHC has designed and implemented its automated

          claims adjudication process to ensure that claims for payment received by UHC for

          all services rendered by out-of-network providers are intentionally underpaid.




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             57) When it comes to claim processing, the automated process is conveniently

          ignorant of the existence of a network exception, yet disingenuously astute of a

          medical provider’s out-of-network status. With the result that Rowe LLC is often

          mistakenly reimbursed as out-of-network, despite the well documented negotiations

          between Rowe LLC and UHC, which resulted in a promise to be reimbursed as in-

          network.

             58) As a result of UHC’s deception, Rowe LLC has had to commence numerous

          lawsuits against UHC ’to recover the balance owed.

             59) UHC intentionally underpays out-of-network services to artificially reduce

          gross costs for medical services, increase profits, and to wage economic war on out-

          of-network providers who render treatment to their consumers.

             60) Every dollar that UHC was obligated to pay that it didn’t pay was a dollar

          that was counted directly to profits. While underpayment serves as a windfall for

          UHC, being tricked into providing medical services leaves the medical provider with

          a broken promise and the legal bills associated with attempting to be made whole

          again.


          D. UHC’s intentionally automated its claims adjudication process so that it
             was intentionally ignorant of or purposefully obtuse towards its
             underpayment of network exceptions

             61) When UHC processes the claims it receives it relies on the information

          reflected in the claim itself, and particularly the procedure code, to determine the

          service provided to the consumer, date the services were provided, and the medical

          provider’s network status.


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             62) CPT codes are among the most important pieces of information included in a

          claim to UHC, and a primary determinant of the amount UHC will ultimately pay.

             63) UHC intentionally fails to reimburse an out-of-network services as in-

          network after making a network exception.

             64) Between 2018 and 2022, the rate at which UHC issued improper

          reimbursement to Rowe LLC after issuing a network exception, and the degree to

          which the reimbursements UHC made were inconsistent, foreclose the possibility

          that UHC merely made bunches of honest mistakes.

             65) The delta between what UHC paid on the claim identified in the Complaint

          and what the UHC should have paid is substantial.

             66) Another facet of its scheme was UHC’s planned response to any disagreement

          regarding the rate of payment. UHC knew that only the plan member or beneficiary

          could challenge a coverage determination made by UHC. Therefore, UHC would

          seek to cover-up its fraud by intentionally claiming, improperly, that determination

          of the in-network reimbursement requires reference to the certificate of coverage or

          the insurance plan of the relevant patient, an action only a plan beneficiary or

          member could bring against the plan sponsor, in most cases the patient’s employer.

          And, an unlikely action considering the plan member or beneficiary already

          received the required medical service.

             67) UHC attains its goal of defending its underpayment by intentionally and

          improperly claiming that determination of the amount UHC owes for services




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          rendered to a network exception requires an impermissible reference to a certificate

          of coverage or the insurance plan of the relevant patient.


          E. This is not a right to payment case because UHC issued a partial
             payment, which acknowledge Rowe LLC’s right to payment

             68) UHC did not do what it was required to do.

             69) Despite having granted a network exception and consistent with its

          automated process UHC accepted Rowe LLC’s performance because it issued

          payment, albeit payment that was not at the level offered to induceRowe LLC to

          render the services.

             70) UHC did not inform Rowe LLC that Rowe LLC incorrectly performed

          bilateral breast reductionnegative pressure wound therapy.

             71) UHC did not deny the claim for the breast reduction surgery because the

          breast reduction surgery was not covered.

             72) UHC did not deny the claim because there was a reduction in OR’s benefits

          such that Rowe LLC was not entitled to payment.

             73) UHC did not deny the claim because another insurer or corporation or

          organization was liable for all or part of the bill.

             74) The amount paid to Rowe LLC by UHC $2,799.14 is not a reasonable value

          for bilateral breast reduction because it is not consistent with the prevailing and

          customary rates paid for bilateral breast reduction; as a result Rowe LLC suffered

          damages.

             75) UHC admitted in its provider remittance advice forms that it processed these

          claims as out of network used the out-of-network benefit to calculate the payment

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          for bilateral breast reduction therapy, therefore, UHC incorrectly calculated its

          payment to Rowe LLC; as a result Rowe LLC suffered damages.

             76) UHC intentionally incorrectly calculated network level resulting in an

          underpayment to Rowe LLC for bilateral breast reduction; as a results Rowe LLC

          suffered damages.

             77) UHC did not properly apply industry coding standards for determining any

          recognized limitations on reimbursement for bilateral breast reductionnegative

          pressure wound therapy, therefore, UHC incorrectly calculated its payment to Rowe

          LLC; as a result Rowe LLC suffered damages.


               FIRST CAUSE OF ACTION- BREACH OF CONTRACT

             78) Rowe LLC repeats and re-alleges the foregoing paragraphs as if fully set

          forth herein.

             79) On or about 12/17/2019, UHC offered Rowe LLC, to pay for bilateral breast

          reduction at the network level rate if it was rendered to OR.

             80) On or about December 30, 2020, Rowe LLC accepted UHC’s offer by

          rendering bilateral breast reduction to OR and submitted its billing to UHC.

             81) Because UHC did not reject Rowe LLC’s performance UHC is obligated to

          pay Rowe LLC at the offered price term, network level.

             82) Because UHC issued a partial payment to Rowe LLC UHC acknowledged it

          was obligated to make payment to Rowe LLC.




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             83) UHC issued a partial payment that was at the out-of-network level and not

          at the network level.

             84) UHC has failed and refused to issue payment to Rowe LLC at the network

          level rate for the services as offered by UHC.

             85) UHC has refused to pay the balance after being demanded to do so by Rowe

          LLC.

             86) As a result of UHC’s failure to perform under their agreement Rowe LLC has

          suffered damages.


                    SECOND CAUSE OF ACTION UNJUST ENRICHMENT

             87) Rowe LLC repeats and re-alleges the foregoing paragraphs as if fully set

          forth herein.

             88) UHC induced Rowe LLC to render bilateral breast reduction and placement

          of a vacuum dressing to OR by offering to pay for bilateral breast reduction at the

          network level rate.

             89) Rowe LLC conferred a benefit upon UHC under circumstances where UHC

          knew or should have known that Rowe LLC expected to be reasonably compensated

          for the benefit conferred according to usual and customary prevailing rates for

          bilateral breast reductionnegative pressure wound therapy, the services rendered to

          OR.

             90) UHC received the benefit of its bargain, i.e., Rowe LLC rendering bilateral

          breast reduction to OR.


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             91) Rowe LLC had no obligation to seek UHC’s approval prior to rendering

          bilateral breast reduction and placement of a vacuum dressing to OR.

             92) Rowe LLC would not have otherwise performed the surgery without UHC’s

          agreement to pay at the network level, instead of the out-of-network benefit level.

             93) When Rowe LLC rendered bilateral breast reduction to OR Rowe LLC made

          it possible for UHC to fulfill its contractual obligation to manage OR’s costs for

          medically necessary services.

             94) Relying on UHC’s offer of payment at the network level rate, Rowe LLC

          forbore from exercising its right to collect payment in full from OR prior to

          rendering bilateral breast reduction.

             95) If UHC did not issue the network exception then OR would not have received

          bilateral breast reduction from Rowe LLC for the same out-of-pocket costs.

             96) The additional benefits conferred by Rowe LLC when Rowe LLC agreed to

          render bilateral breast reduction based on UHC’s promise of payment included OR’s

          perception, valid or otherwise, that UHC facilitated OR receiving bilateral breast

          reduction from Rowe LLC when UHC did not have a provider in its network with

          the same capacity at Rowe LLC and OR was otherwise not entitled to receive that

          service from Rowe LLC; the esteem and the expectancy of OR’s continued customer

          patronage is called good will and it has a value to UHC.

             97) Under the circumstances, it would be unfair to permit UHC to retain the

          benefits conferred upon it without UHC paying a reasonable value to Rowe LLC.




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              THIRD CAUSE OF ACTION- PROMISSORY ESTOPPEL

             98) Rowe LLC repeats and re-alleges the foregoing paragraphs as if fully set

          forth herein.

             99) UHC made a clear and unambiguous promise to pay for bilateral breast

          reduction and placement of a vacuum dressing at network level rate if it was

          rendered to OR and should have expected that Rowe LLC would rely upon that

          promise.

             100)         UHC should have expected Rowe LLC to rely upon its promise

          because, among other reasons, UHC knew or should have known that the surgery

          was scheduled for December 30, 2020 and it made a promise memorialized on

          12/17/2019 to issue payment for bilateral breast reduction and placement of a

          vacuum dressing at the network level rate.

             101)         UHC should have expected Rowe LLC to rely upon its promise

          because, among other reasons, UHC issued numerous payments to Rowe LLC after

          issuing a network exception for the same healthcare services rendered by Rowe LLC

          at higher percentage of the billed amount under the same or similar circumstances.

             102)         Rowe LLC relied on UHC's promise to its detriment, causing

          substantial damages equal to the reasonable value of the medical services provided

          by Rowe LLC.




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               FOURTH CAUSE OF ACTION— VIOLATION OF NEW
                        YORK’S PROMPT PAY LAW
             103)         Rowe LLC repeats and re-alleges the foregoing paragraphs as if fully

          set forth herein.

             104)         Pursuant to their agreement and within 120 days of the date the

          services were rendered to OR, Rowe LLC submitted its claim to UHC.

             105)         UHC acknowledged its obligation to make payment by issuing

          payment, albeit an unreasonable amount based upon reimbursement standards in

          the industry.

             106)         UHC did not object to issuing reimbursement or request further

          information from Rowe LLC regarding Rowe LLC’s billing within forty-five (45)

          days of receipt of the claim.

             107)         Rowe LLC is entitled to payment of $299,428.50 PLUS interest at the

          rate of ONE PERCENT (1%) per month computed from THIRTY (30) days after the

          date the claim was submitted to the UHC until the amount due is paid in full,

          pursuant to Insurance Law § 3224-a.


                                  FIFTH CAUSE OF ACTION—
                                 FRAUDULENT INDUCEMENT
             108)         Rowe LLC repeats and re-alleges the foregoing paragraphs as if fully

          set forth herein.

             109)         UHC intentionally represented to Rowe LLC that it would reimburse

          bilateral breast reduction as network services to induce Rowe LLC to render that

          service to OR.

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             110)      UHC knew that its product could not provide the medical services

          indicated for OR; services we now know UHC determined to be necessary and

          covered because UHC intentionally made a payment that it knew was not and could

          never be the agreed amount.

             111)      When UHC intentionally told Rowe LLC that it was reimbursing

          bilateral breast reduction as network UHC knew that Rowe LLC had already

          rejected the out-of-network reimbursement to render bilateral breast reduction

          offered by UHC.

             112)      When UHC intentionally told Rowe LLC that it was reimbursing

          bilateral breast reduction “network” UHC knew there was no in-network rate. This

          action was intentionally deceptive because UHC does not have an in-network rate

          for service provided by out-of-network providers.

             113)      Rowe LLC justifiably relied on UHC statements that it would

          reimburse the bilateral breast reduction and as a result rendered bilateral breast

          reduction to OR.

             114)      As a result of UHC’s willful and wanton conduct Rowe LLC has been

          damaged.

             115)      Based on UHC’s willful and wanton conduct UHC should be punished.




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             116)      WHEREFORE, NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. &

          EAST COAST PLASTIC SURGERY, P.C. demands judgment in the amount of

          $299,428.50 together with interest and costs; or in the alternative judgment in the

          amount of $224,428.50, an award of punitive damages in an amount equal to treble

          the judgment amount awarded together with granting such other and further relief

          as the Court may deem just and proper.

                                      LEWIN & BAGLIO, LLP
                                        Michael Baglio, Esq.
                                      Attorneys for the Plaintiff
                                         1100 Shames Drive
                                              Suite 100
                                      Westbury, New York 11590
                                        Tel: (516) 307- 1777
                                        Fax: (516) 307- 1770
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            SUPREME COURT OF THE STATE OF NEW YORK                                 Index No.:
            COUNTY OF NASSAU
            NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. & EAST                          VERIFICATION
            COAST PLASTIC SURGERY, P.C.
                                     Plaintiff(s),
                         -Against -

            UNITED HEALTHCARE SERVICES, INC,
                                   Defendant(s).

                 /111:
            1,           �� being duly sworn, deposes and says:

            I am an officer of EAST COAST PLASTIC SURGERY, P.C., the plaintiff in the

            above-entitled action. I have read the foregoing complaint and know the contents

            thereof. The same are true to my knowledge, except as to matters therein stated to

            be alleged on information and belief and as to those matters I believe them to be

            true.

            Dated: August 17, 2022




            Sworn to before me thi    dayo�;Z-




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                                                  UNITED HEALTHCARE
                                                  PO BOX 740800
                                                  ATLANTA ,GA 30374-0800


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                            HUDSON REGIONAL HOSPITAL                      NORMAN MAURICE ROWE, MD, MHA, LLC
     ROWE, NORMAN MD        55 MEADOWLANDS PARKWAY                        71 EAST 77TH STREET
                            SECAUCUS,NJ                                   NEW YORK, NY 100750000
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                                                  UNITED HEALTHCARE
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                            HUDSON REGIONAL HOSPITAL                       EAST COAST PLASTIC SURGERY, PC
     PIERCE, CHARLES MD     55 MEADOWLANDS PARKWAY                         333 BROAD STREET STE 1A
                            SECAUCUS,NJ                                    RED BANK, NJ 077010000
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       SUPREME COURT OF THE STATE OF NEW YORK                       Index No.:
       COUNTY OF NASSAU
       NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. &                          AFFIRMATION
       EAST COAST PLASTIC SURGERY, P.C.
                               Plaintiff(s),

                 - Against -

       UNITED HEALTHCARE SERVICES, INC,
                              Defendant(s).
          STATE OF NEW YORK)
          COUNTY OF NASSAU) ss.
          ATTORNEYS VERIFICATION AND CERTIFICATION PURSUANT TO § 130-
                                      1:
                 I, Michael Baglio, Esq., an attorney and counselor at law, duly admitted to
          practice in the Courts of the State of New York and a member with the law firm
          LEWIN & BAGLIO, LLP, attorneys for plaintiff herein, affirms the following to be
          true under penalties of perjury:
                I have read the foregoing COMPLAINT and know the contents thereof, and
          upon information and belief, I believe the matters alleged therein to be true.
                 The reason this verification is made by deponent and not by plaintiff is that
          plaintiff resides in a county other than the one in which your deponent's office is
          maintained.
              The source of your deponent's information and the grounds of my belief are
          communications, papers, reports and investigations contained in my file.


          Dated: August 17, 2022
                 Westbury, New York

                                                     By: Michael Baglio, Esq.




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          SUPREME COURT OF THE STATE OF NEW YORK
          COUNTY OF NASSAU
          NORMAN MAURICE ROWE, M.D., M.H.A., L.L.C. &
          EAST COAST PLASTIC SURGERY, P.C.                                        Index No.:
                                  Plaintiff(s),

                   - Against -

          UNITED HEALTHCARE SERVICES, INC,
                                 Defendant(s).
          Pursuant to Section 130-1 of the rules of the chief administrator (22 NYCRR) I certify that
          to the best of my knowledge, information and belief, Formed after an inquiry reasonable
          under the circumstances, the within Summons and Verified Complaint are not frivolous.



                                                        By: Michael Baglio, Esq.



                                  SUMMONS AND COMPLAINT

                                     ATTORNEYS FOR THE PLAINTIFF

                                        LEWIN & BAGLIO, LLP
                                          1100 Shames Drive
                                               Suite 100
                                       Westbury, New York 11590
                                             516-307-1777
                                       L&B File No.: 2125.COM.60




          To:

          Attorney for defendant:
          Service of a copy of the within SUMMONS AND COMPLAINT is hereby admitted.

          Dated:                                          ______________________
                                                          Attorney for Defendant




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